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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

   JOHN DOE and JANE DOE

                  Plaintiffs,

   v.                                                   Case No. 3:22-cv-49-NKM-JCH

   JOSHUA MAST, et al.,

                  Defendants.


  CONSENT MOTION FOR EXTENSION AND TO SET A BRIEFING SCHEDULE FOR
     PLAINTIFFS’ MOTIONS TO DISMISS DEFENDANTS’ COUNTERCLAIMS

         Plaintiffs, by counsel and pursuant to Fed. R. Civ. P. 6(b)(1) and Local Civil Rule 11(c)(2),

  file this motion seeking an extension of time and to set a briefing schedule for their motions to

  dismiss the counterclaims of Defendants Joshua and Stephanie Mast (ECF 467) and Defendant

  Richard Mast (ECF 470), and state as follows:

         1.      Defendants Joshua and Stephanie Mast and Defendant Richard Mast filed Answers

  to the Amended Complaint and Counterclaims on August 7, 2024. See ECF 467, 470.

         2.      Absent an extension, the deadline for Plaintiffs’ responsive pleadings to those

  filings is Wednesday, August 28, 2024. See Fed. R. Civ. P. 12(a)(B).

         3.      Due to briefing obligations and upcoming deadlines in other cases, and given the

  due consideration required for the issues raised by Defendants’ counterclaims, Plaintiffs request

  more time to file their anticipated motions to dismiss the counterclaims.

         4.      Undersigned counsel for Plaintiffs has conferred with counsel for Defendants

  Joshua and Stephanie Mast and Defendant Richard Mast. Defense counsel are not opposed to an

  extension of time for Plaintiffs. Counsel for Richard Mast requested a like-kind extension to

  respond to the motions and an accommodation for religious holidays in the coming weeks.
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         5.      The parties conferred and have agreed on the following proposed deadlines and

  briefing schedule for Plaintiffs’ anticipated motions to dismiss Defendants’ counterclaims:

                 a. Plaintiffs’ Motions to Dismiss:   Wednesday, September 11, 2024

                 b. Defendants’ Responses:            Tuesday, October 15, 2024

                 c. Plaintiffs’ Replies:              Tuesday, October 29, 2024

         WHEREFORE, Plaintiffs respectfully ask the Court to grant this motion and to order the

  above deadlines and briefing schedule. A proposed Order is attached.

  Dated: August 21, 2024                       Respectfully submitted,

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